                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,                         )
                                                  )
                         Plaintiff,               )
                                                  )
       vs.                                        )       No. 13-03069-02-CR-S-JFM
                                                  )
CARLOS IVAN SOTO,                                 )
                                                  )
                         Defendant.               )


                       ACCEPTANCE OF PLEA OF GUILTY AND
                            ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to Count Two

contained in the Indictment filed on July 23, 2013, is now Accepted and the Defendant is

Adjudged Guilty of such offense. Sentencing will be set by subsequent Order of the Court.




                                                          /s/ J. Frederick Motz
                                                       J. FREDERICK MOTZ
                                                  UNITED STATES DISTRICT JUDGE




Date: November 19, 2013




       Case 6:13-cr-03069-GAF         Document 33      Filed 11/19/13     Page 1 of 1
